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                     UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

 Before The Honorable LAUREL BEELER, Magistrate Judge

 UNITED STATES OF AMERICA,         )
                                   )
              Plaintiff,          )     NO. CR-20-0249 RS (LB)
                             )
   VS.                       )          Thursday, December 22, 2022
                             )
 ROWLAND MARCUS ANDRADE,     )          San Francisco, California
                             )
                             )          Motion Hearing
                             )
            Defendant.       )
 ____________________________)


TRANSCRIPT OF ZOOM PROCEEDINGS OF THE OFFICIAL ELECTRONIC SOUND
                RECORDING 9:46 a.m. - 10:00 a.m.

 APPEARANCES:

 For Plaintiff:                STEPHANIE M. HINDS, ESQUIRE
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                               San Francisco, California 94102
                         By:   ANDREW DAWSON,
                               Assistant United States Attorney

 FOR DEFENDANT:                KING & SPALDING
                               50 California Street, Suite 3300
                               San Francisco, California 94111
                         By:   MICHAEL J. SHEPARD, ESQUIRE

                               KING & SPALDING
                               1700 Pennsylvania Avenue, NW,
                               Suite 900
                               Washington, DC 20006
                         By:   KERRIE C. DENT, ESQUIRE


                         (Appearances Continued)

 Transcribed By:               Diane E. Skillman, Transcriber
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 1                                    CINDY A. DIAMOND, ESQUIRE
                                      58 West Portal Avenue, #350
 2                                    San Francisco, California 94127

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 1   Thursday, December 22, 2022                                9:46 a.m.

 2                            P R O C E E D I N G S

 3                                      o0o

 4               THE CLERK:    Calling Criminal Action 20-249 U.S.A.

 5   versus Rowland Marcus Andrade.

 6        Counsel, if you can please state your appearances for the

 7   record.

 8               MR. DAWSON:    Good morning, Your Honor.          Andrew Dawson

 9   for the United States.

10               MR. SHEPARD:    Good morning, Your Honor.           Michael

11   Shepard for the defendant Mr. Andrade.             I believe he's present

12   and agrees to participate by Zoom.

13               THE COURT:    I have two people in the audience raising

14   their hand.

15               MR. SHEPARD:    Those would be my --

16               THE COURT:    Mr. Andrade?

17               MR. SHEPARD:    -- esteem co-counsel hopefully Ms. Dent

18   and Ms. Diamond.

19               THE COURT:    Great.   Okay.     Elaine, promote them.

20        If it's possible, Mr. Andrade, to put yourself on video

21   that would be lovely.       Thank you.

22        Okay.    We will wait for your colleagues.            There's

23   Ms. Dent.     And there's someone else Hanna Jam (phonetic).

24        Is she part of this case?

25               THE CLERK:    No.   She put her hand down.
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 1               MS. DIAMOND:    Good morning, Your Honor.          Cindy

 2   Diamond.     I am one of Mr. Shepard's co-counsel for

 3   Mr. Andrade.

 4               THE COURT:    Yes.   I am familiar with you from your

 5   declaration.

 6        Okay.    So let me just quick grab my notes.           Your files are

 7   too voluminous to go into my standing desk without dropping it

 8   down below.     So it's a little tough.

 9        Here's the thing.      You know, there's a lot of discovery in

10   the case.     I have to pull out the motions because I have some

11   questions that I think we should talk about.              And I have maybe

12   a suggestion as to process.        So let me give you my reaction to

13   how we approach the dispute potentially.

14        So, one, I think the government makes -- one, I have no --

15   you know, I have no interest in disturbing the defense

16   strategy.     And at the same time I don't need to know a lot to

17   kind of manage what's appropriate in discovery.              So that's

18   point one.

19        I think Mr. Dawson makes a good point he ought to have

20   some, you know, a declaration with -- you know, you guys are

21   the master of what you want to say in your declaration.                   There

22   are enough things I think you can probably say and you've said

23   a lot already that provides clarification.

24        Mr. Dawson says, you know some -- I am reporting from

25   memory -- always a dangerous thing -- but he says in some
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 1   situations he has been able to test, you know, what you said,

 2   and then you come and either worked it out or whatever.                   So

 3   that's sort of point one.

 4        Point two is, you know, you guys gave me in great

 5   civil-lawyer tradition, a ton of stuff.            And I don't know, as

 6   I said, I have 27 matters on calendar today.              So one of the

 7   issues is, you know, what does the business model permit for

 8   me to get involved in your dispute.

 9        When I look at the motions, I say to you, Mr. Dawson, for

10   some of it, you know, some of it I get and some of it I always

11   wonder why do you care.

12        So, you know, and because -- because part of it is, you

13   have like let's just take the SEC as an example.               And I know

14   you've agreed to produce this information so I know you

15   understand this.        In a government investigation, for example,

16   it is all fair.     You've got to review notes.           You've got to

17   review for Brady.       All of that kind of stuff.

18        And, you know, along the lines of the Skilling case, boy

19   do you spare yourself a lot of work if you just turn it over,

20   and who cares.     And then that kind of goes into the burden

21   argument.

22        And then you've got good lawyers who are knocking

23   themselves out on the defense side.           I know you are knocking

24   yourself out on the prosecution side, too, so it's not that,

25   but every good lawyer wants to make sure they're not leaving a
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 1   stone unturned.

 2        Now I get it's not possible in civil or criminal

 3   litigation, but it does seem to me that there's a certain

 4   utility of just going through and say, do I have to do it?

 5   That's question one.       And then question two is, do I care?

 6   It's kind of like making an objection at trial.                Can I do it?

 7   Sure, maybe.     Do I want to do it?       Maybe not.

 8        So that was one reaction I had to it.               I was literally

 9   writing down on some of it, why do you care?                Why do you care?

10   Why do you care?        Burden could be, you know, one issue.               I get

11   that.   If it goes too far afield, it may be too much.

12        And then so that was an overall reaction to it.                And --

13   and -- so I thought of two things that we could do today.

14   One -- I mean, I can learn your case.           It will take me more

15   time than just digesting.        It's not that hard.          I've done

16   these cases myself.       I have managed criminal discovery in

17   other cases.     Probably need a day or so to kind of like look

18   at the indictments, think about it, work through all the

19   papers.    It's not going to happen today.

20        So I thought that -- so what I was going to suggest today

21   is, one, I think the defense ought to rethink its declaration.

22   I thought today illustratively we could each -- I've got your

23   papers here, to illustrate the issues, the defense team could

24   pick one thing they really want, and we can talk about it.

25   And then the prosecution could pick one thing it really
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 1   doesn't want to do, and those two things might illustrate,

 2   might be the bookends for your dispute.

 3        Then I thought you have your next date before Judge

 4   Seeborg in February.       I thought a date in January, we can

 5   schedule a little bit more time on the case -- I thought we

 6   should maybe -- you can tell me.          You guys have talked a lot

 7   so I get it, so depending on how our conversation goes on

 8   those two illustrative things that you want, we could decide

 9   whether maybe it makes sense to just get together and talk

10   them through slowly and give it a couple of hour chunk right,

11   in January.     It's not going to happen today.

12        I thought that is what was sort of reasonable for us to

13   accomplish today.        Your papers themselves were fairly high

14   level.   Obviously the Dent declaration -- thank you,

15   Ms. Dent -- was very thorough and lots of exhibits attached to

16   it so all that part's good.

17        So that's my proposal to you.         One, reaction to it; two,

18   do you have an illustrative thing, one thing you want to talk

19   about today given there are 26 other matters still on

20   calendar.

21        I'm going to start, because it's your motion, I will start

22   with the defense.

23               MR. SHEPARD:    So thank you, Your Honor.          We

24   appreciate that.        We've given you a whole lot of information.

25        We're happy to try do it the way you would like us to do
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 1   it.

 2               THE COURT:    That was just, boiled down, I would like

 3   Mr. Dawson to reconsider what he doesn't want to do, and have

 4   built -- a meet and confer with you not in early January, but

 5   let's say not the week after New Year's, but the second week.

 6         And then today to illustrate, at least a point, one point

 7   for each of you that we come back in mid January for a more

 8   extensive hash through of what you actually disagree with --

 9   about.

10               MR. SHEPARD:    I think the bulk of this for us, if you

11   are asking me to identify that, is the whole set of Abramoff,

12   Butina, Erickson, Levin.

13               THE COURT:    And I know the government doesn't think

14   it's relevant but that was why I wrote down why do you care so

15   much, Mr. Dawson?

16         And if it exists and it's producible and it can be given

17   without a ton of burden under protective order, you know how

18   it is.   But when you go to trial, if you guys go to trial,

19   it's going to boil down to about a hundred things that are

20   relevant for the trial.        It's not going to be the sun, the

21   moon, and the stars because it's just not going to be.

22         So, you know, that's the main bulk of what they want.               So

23   why do you care so much?

24               MR. DAWSON:    I would be happy to answer that

25   question.    I think the government's concern is not that
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 1   particular request.      It is the dozens and dozens and dozens of

 2   requests behind it.

 3        In my seven years as an AUSA, I've never had to litigate a

 4   motion to compel because I could not agree more with Your

 5   Honor, why would I care.       In this case I care because if I

 6   were to try and comply with Mr. Shepard's request, first of

 7   all, it would be impossible.       Second of all, it would take

 8   years.    He has requested that we review the unredacted Muller

 9   report on Russian interference.

10              THE COURT:    I get that part of it.         That's easier.

11   We can sit down and hash those things out.

12        If you don't care so much about the three things that

13   Mr. Shepard identified, maybe the idea is, one, start there.

14   Two, what's the reasonable time to produce.             Three, once, you

15   know, then, again, you don't have a trial date.             You have a

16   CMC upcoming in February, a status conference.

17        You know, then from the defense side, what else do you

18   want?    What else do you really want?        Do you want to talk

19   through it now?     Not today now, but mid January now, or do you

20   want to start with the important -- you know, as Judge Spero

21   always says, let's start here.

22        Let's get you the bulk of what you want and see what

23   illumination that might give you, what Mr. Dawson I think

24   categorizes the conspiracy theory of the government.              I'm not

25   going to order, you know, the government to review the
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 1   unredacted portion of the Muller report on this record, but

 2   that might be a place to start.

 3              MR. DAWSON:     And, Your Honor, if I may --

 4              THE COURT:     One more thing before you say that,

 5   Mr. Dawson.

 6        Then what I would suggest, we should chew up your dispute

 7   a little bit.     If we are going to take an hour, you know,

 8   after -- you know, Mr. Dawson agrees it will produce the stuff

 9   he doesn't care about, then pick your next five things, then

10   let's have an hour to talk about it.

11              MR. DAWSON:     I think it may be helpful to respond --

12   to illustrate some of the challenges even on that narrow

13   request.

14              THE COURT:     Yes.

15              MR. DAWSON:     As to Ms. Butina and Mr. Erickson, we

16   have, in fact, already done the vast majority of the review

17   that Mr. Shepard has requested.         That review for the most part

18   came up completely negative.

19        There is one statement that we communicated in a letter to

20   Mr. Shepard in an interview with Ms. Butina.             We have

21   discovered nothing in the case file regarding Mr. Erickson.

22        So, in part, our concern is what remains here would

23   apparently be a granular review of search warrant, returns

24   from electronic devices, which as Your Honor knows can be

25   gigabytes and gigabytes.
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 1        There's also the concern that in other areas we have had

 2   disputes with the defense about the difference between things

 3   that are seized pursuant to a search warrant and we -- a

 4   device oftentimes that process will entail the creation of an

 5   image.

 6              THE COURT:     Right.

 7              MR. DAWSON:     That image is not something we are

 8   entitled to look at once the search warrant expires, but it

 9   remains in certain cases in the possession of the FBI.

10        Mr. Shepard has requested that as to certain people

11   involved in our case, and have we produced that and we have

12   agreed to.

13        But when it comes to other individuals who are potentially

14   relevant in other cases, we don't necessarily know that the

15   images exist.     But it's another step to say that we would have

16   to produce images of a device seized from somebody else in a

17   different investigation.       A, because there's no search warrant

18   authorizing us to do it, and it's honestly a privacy concern

19   for the individual who may or may not have been subject to a

20   search warrant and suddenly Mr. Andrade with a tenuous

21   connection at best, is able to rummage through a complete

22   image of a device that may have intimate details about their

23   life, that's where our concern is.

24        In terms of reviewing 302s and producing statements,

25   documents seized that are relevant, that's perfectly fine.
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 1              THE COURT:     I think we should start -- if you've done

 2   that under -- I mean, I would say from the defense side, you

 3   at least have an obligation to undertake a review of those

 4   things and they say what else from those investigations that

 5   you really want.

 6        I think privacy issues can be addressed, but usually the

 7   way we address them is we address them through -- you're not

 8   entitled to all the stuff that's not -- you are entitled to --

 9   you may or may not be entitled to any of it, but you are not

10   entitled to private stuff that has nothing to do with the

11   investigation.      And, you know, that stuff is not necessarily

12   segregable.     So that's why we rely on 302s to reveal what's

13   been, you know, what's been identified.            And the government

14   hasn't always done that review.

15        I don't think that the -- the more attenuated discovery

16   gets to the actual charges, I don't think it gets you having

17   the government undertake a discovery review.             I mean, they

18   have their Brady obligations for all information within their

19   control that they have to deal with, but I don't think it

20   necessarily entitles you to that.

21        To me it seems like, you know, if you identify the three

22   or five most important things that you don't have, Mr. Shepard

23   pointed to the Abramoff investigation, Mr. Dawson says it's

24   really mostly been produced, if there are specific things that

25   you can identify that you want and that you didn't get, I
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 1   think you need to talk about it first, and then you schedule a

 2   meeting with me.        It's not that hard.      I am available every

 3   Thursday and I can work out a case management conference

 4   that's a reasonable amount of time for let's say five

 5   disputes, not 37, and not -- and you've got to prioritize it.

 6        And so I think that that's -- you know, that's sort of the

 7   best I think I can do today.           But so my -- what I think that

 8   you ought to do is I think you ought to sit down, you know, by

 9   not the first week in January, but that second week in

10   January, I think you ought to prioritize your top five things

11   on your list.     You have to start somewhere; you can't deal

12   with all of them.        Have a conversation at least by telephone

13   with the team, not just by email.           You can queue it up by

14   email.    You've got to talk it through.

15        Then submit a very short, you know, update about the

16   things that you want to discuss.           I think the defense team

17   should reconsider its affidavit -- its declaration to see if

18   there's any more detail you are able -- your call, do what you

19   want to do.

20        I may or may not be able to rely entirely on what you say

21   under seal, but I think we can have a productive on-the-record

22   conversation about what you want.           So I mean that's given the

23   big chunks of stuff that you gave me, volumes of it, I have to

24   learn your case a little bit better, and I can do that.

25        My suggestion is, if you meet that week of January, I
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 1   believe it's January 8th, if you give me an update, a joint

 2   update, kind of like a CMC statement by say January, I think

 3   that first -- that next Thursday is the 11th, if you at that

 4   point want to identify on the 11th, by the 11th or later, it

 5   doesn't have to be that date, I need at least a week's advance

 6   notice of the five things you want to talk about so I can

 7   spend some time doing it.

 8        I will tell you that I am booked that Thursday, Friday,

 9   and the following Monday is a holiday, but I can allot some

10   time to it.     So -- and then I can put it on a Thursday

11   calendar, you know, for some chunk of time where you kind of

12   aren't interrupted by other people.

13        So I think that's what I've got for today.             I will issue a

14   very short order to that effect.         And I think that if you can

15   try to narrow your disputes and queue them up serially for me,

16   I think we have a better shot of working through them.

17        Okay.    So I think with that, that's what I've got for you

18   today.

19              MR. DAWSON:     Thank you, Your Honor.

20              MS. DIAMOND:     Thank you.

21              THE COURT:     All right.

22

23                  (Proceedings concluded at 10:00 a.m.)

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                        CERTIFICATE OF TRANSCRIBER



     I certify that the foregoing is a true and correct

transcript, to the best of my ability, of the above pages of

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U.S. District Court, Northern District of California, of the

proceedings taken on the date and time previously stated in

the above matter.

     I further certify that I am neither counsel for, related

to, nor employed by any of the parties to the action in which

this hearing was taken; and, further, that I am not

financially nor otherwise interested in the outcome of the

action.



                  ________________________________

                   DIANE E. SKILLMAN, TRANSCRIBER

                    Tuesday, February 28, 2023
